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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


  JUDITH ANNE HAYES, individually
  and on behalf of W.H., a minor, et al.
                                                              CASE NO: 1:21-cv-22863-KMM
          Plaintiffs,
  v.

  GOVERNOR RONALD DION DESANTIS, in his official
  Capacity as Governor of the State of Florida; et al.,

        Defendants.
  ________________________________________________________/


       FIFTH NOTICE OF FILING IN SUPPORT OF PLAINTIFFS’ AMENDED MOTION
                      FOR PRELIMINARY INJUNCTION [DE 17]

          COMES NOW, Plaintiffs, JUDITH ANNE HAYES, individually and on behalf of W.H.,

  a minor, et al., by and through the undersigned counsel, and hereby files in support of Plaintiffs’

  Amended Motion for Preliminary Injunction [DE-17], Order Granting Plaintiffs’ Motion for

  Temporary Restraining Order and Preliminary Injunction [DE-32], in the U.S. District Court for

  the Southern District of Iowa, The Arc of Iowa v. Reynolds, Case No.: 21-CV-00264-RP-

  SBJ,attached hereto as “Exhibit A”.

          Respectfully submitted this 13th day of September 2021.

                                               By: /s/Matthew W. Dietz _____
                                               Matthew W. Dietz, Esq.
                                               Florida Bar No. 84905
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 13th, 2021, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system which will send notice of electronic

  filing to all parties and counsel of record, or in some other authorized manner for those counsel or

  parties who are not authorized to receive notices electronically.

                                                By: /s/Matthew W. Dietz _____
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